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                                  United States District Court                              FILED
                                        Western District of Texas                        July 26, 2024
                                           El Paso Division                           Clerk, U.S. District Court
                                                                                         Western District of
                                                                                               Texas

                                                                                                MG
                                                                                By:
                                                                                                        Deputy
UNITED STATES OF AMERICA                        §
                                                §
vs.                                             § Case Number: EP:12-CR-00849(2)-KC ATB
                                                §
(2) ISMAEL ZAMBADA GARCIA                       §                    IN PERSON
                                                §
  Defendant
        ORDER SETTING D.C. ARRAIGNMENT / DETENTION
           IT IS HEREBY ORDERED that the above entitled and numbered case is set for D.C.
ARRAIGNMENT / DETENTION in Magistrate Courtroom, Room 412, on the 4th Floor of the
United States Courthouse, 525 Magoffin Avenue, El Paso, TX, on:

                            Wednesday, July 31, 2024, at 11:00 AM

            IT IS FURTHER ORDERED that the Clerk of the Court shall send a copy of this
order to counsel for defendant, the United States Attorney, United States Pretrial Services and the
United States Probation Office, and any surety or custodian, if applicable. Further, counsel for
the defendant shall notify the defendant of this setting and, if the defendant is on bond, advise the
defendant to be present at this proceeding.

            In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due
Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the Government is
hereby notified of and ordered to comply with (1) the prosecutor’s disclosure obligations under
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and (2) the possible consequences of
violating this Order, which may include sanctions such as delay of trial or other proceedings, the
exclusion of evidence, the giving of adverse jury instructions, the granting of a new trial, the
dismissal of charges, or contempt proceedings.

IT IS SO ORDERED this July 26, 2024.




                                                 ______________________________
                                                 ANNE T. BERTON
                                                 UNITED STATES MAGISTRATE JUDGE
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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           EL PASO DIVISION
UNITED STATES OF AMERICA           §
                                   §
vs.                                §    NO: EP:12-CR-00849(2)-KC
                                   §
(2) ISMAEL ZAMBADA GARCIA          §

                              WAIVER OF PRELIMINARY HEARING
                                AND/OR DETENTION HEARING
                                  (Rule 5 or 32.1, Fed.R.Crim.P.)

PRELIMINARY HEARING

        I, (2) ISMAEL ZAMBADA GARCIA, charged in a complaint pending in this District, and
having appeared before this Court and been advised of my rights as required by Rule 5 or 32.1,
Fed.R.Crim.P., including my right to have a preliminary hearing, I have been advised that at a
preliminary hearing, the government will be required to provide evidence to support the charges pending
against me. Now, appearing with the benefit of counsel I, do hereby waive (give up) my right to a
preliminary hearing.

         Yo, (2) ISMAEL ZAMBADA GARCIA, el inculpado en una acusación pendiente en este
Distrito, he comparecido ante este Tribunal y me han informado de mi derecho a una audiencia
preliminar, cumpliendo con el reglamento 5 o 32.1 de los Reglamentos de Procedimientos Penales
Federales, por este medio renuncio (abandono) a mi derecho a una audiencia preliminar.


07/26/2024
Date/Fecha                                            (2) ISMAEL ZAMBADA GARCIA,
                                                      Defendant/Acusado

DETENTION HEARING

        I have also been advised of my right to a detention hearing. I have been advised that, at a
detention hearing, the court will hear evidence to determine whether I should be held in jail without bond
or whether a bond should be set for me. I have been advised that, if I waive (give up) my right to a
detention hearing, I will be held in jail without bond while I wait for trial. I have discussed this right
with counsel, and I hereby waive (give up) my right to have a detention hearing.

         También me han informado de mi derecho a una audiencia para fijar fianza, el juez recibirá las
pruebas para poder determinar si seguiré detenido sin fianza o si me fijarán fianza. Me han informado
que si renuncio (abandono) mi derecho a una audiencia para fijar fianza, seguiré detenido sin fianza hasta
que se me someta a jucio. Renuncio (abandono) mi derecho a una audiencia para fijar fianza.

07/26/2024
Date/Fecha                                            (2) ISMAEL ZAMBADA GARCIA,
                                                      Defendant/Acusado


                                                      Frank A. Perez,
                                                      COUNSEL FOR DEFENDANT
                                                      Abogado Del Acusado
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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

USA                                             §
                                                §
vs.                                             §     NO: EP:12-CR-00849(2)-KC
                                                §
(2) ISMAEL ZAMBADA GARCIA                       §

                 WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT
                                     AND
                         ENTRY OF PLEA OF NOT GUILTY

     COMES NOW Defendant in the above-referenced case who, along with his undersigned
attorney, hereby acknowledges the following:

     1) Defendant has received a copy of the indictment or information in this case. Defendant
understands the nature and substance of the charges contained therein, the maximum penalties
applicable thereto, and his/her Constitutional rights, after being advised of all the above by
his/her attorney.

     2) Defendant understands he/she has the right to appear personally with his/her attorney
before a Judge for arraignment in open Court on this accusation. Defendant further understands
that, absent the present waiver, he/she will be so arraigned in open Court.

     Defandant, having conferred with his/her attorney in this regard, hereby waives personal
appearance with his/her attorney at the arraignment of this case and the reading of the indictment
or information, and by this instrument, tenders his/her plea of "not guilty." The defendant
understands that entry by the Court of said plea for defendant will conclude the arraignment in
this case for all purposes.

I UNDERSTAND, UNLESS OTHERWISE ORDERED BY THE COURT, I MUST FILE ANY
PRETRIAL MOTION (CITING LEGAL AUTHORITY UPON WHICH I RELY AND A PROPOSED
ORDER) WITHIN 14 DAYS AFTER ARRAIGNMENT, OR, IF I HAVE WAIVED ARRAIGNMENT,
WITHIN 14 DAYS AFTER THE LATEST SCHEDULED ARRAIGNMENT DATE.      SEE LOCAL
CRIMINAL RULES CR-12 AND CR-47.

Date:
                                                                 DEFENDANT
                                                       _________________________________________________________________
                                                       Signature of Attorney
